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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Andres Cisneros
                             Plaintiff,
v.                                                Case No.: 1:18−cv−05043
                                                  Honorable Robert W. Gettleman
Audit Systems, Inc.
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 28, 2018:


        MINUTE entry before the Honorable Robert W. Gettleman: On stipulation [13]
and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this case is dismissed
with prejudice, both sides to bear their own fees and costs. Civil case terminated. Mailed
notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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